     Case 1:19-cv-00670-RJJ-PJG ECF No. 10 filed 11/14/19 PageID.67 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


LUCILLE S. TAYLOR,

                Plaintiff,
                                                              CASE NO. 1:19-CV-670
v.
                                                              HON. ROBERT J. JONKER
STATE BAR OF MICHIGAN, et al.,

                Defendants.
                                          /

                                               ORDER

         By agreement of the parties and as stated in their Joint Status Report, the following

persons shall be substituted as defendants in this matter:

              ORIGINAL PARTY                                 SUBSTITUTED PARTY

Jennifer M. Grieco, in her official capacity       Dennis M. Barnes, in his official capacity as
as President of the State Bar of Michigan          President of the State Bar of Michigan Board of
Board of Commissioners                             Commissioners

Dennis M. Barnes, in his official capacity as      Robert J. Buchanan, in his official capacity as
President-Elect of the State Bar of Michigan       President-Elect of the State Bar of Michigan
Board of Commissioners                             Board of Commissioners

Robert J. Buchanan, in his official capacity as Dana M. Warnez, in her official capacity as
Vice President of the State Bar of Michigan     Vice President of the State Bar of Michigan
Board of Commissioners                          Board of Commissioners

Dana M. Warnez, in her official capacity as        James W. Heath, in his official capacity as
Secretary of the State Bar of Michigan Board       Secretary of the State Bar of Michigan Board
of Commissioners                                   of Commissioners

James W. Heath, in his official capacity as  Daniel D. Quick, in his official capacity as
Treasurer of the State Bar of Michigan Board Treasurer of the State Bar of Michigan Board
of Commissioners                             of Commissioners


         IT IS SO ORDERED.

Dated:        November 14, 2019                 /s/ Robert J. Jonker
                                                ROBERT J. JONKER
                                                CHIEF UNITED STATES DISTRICT JUDGE
